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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,                          Case No. 87-CR-80933-01

 v.                                                Hon. Gerald E. Rosen

 LARRY MARLOWE CHAMBERS,

            Defendant.
 _________________________________/

                             ORDER DENYING
                 DEFENDANT’S MOTION TO VOID INDICTMENT

                                At a session of said Court, held in
                             the U.S. Courthouse, Detroit, Michigan
                             on            July 17, 2014

                            PRESENT: Honorable Gerald E. Rosen
                                     Chief Judge, United States District Court

        By pro se motion filed on August 15, 2013, Defendant Larry Marlowe Chambers

 seeks to challenge the underlying 1988 indictment in this case, as well as a determination

 by a Magistrate Judge following a December 29, 1987 preliminary hearing that Defendant

 should be bound over for further proceedings. In Defendant’s view, both the indictment

 and the Magistrate Judge’s ruling should be set aside pursuant to Fed. R. Civ. P. 60(d)(3)

 as allegedly procured through fraud on the court. As discussed briefly below, the Court

 readily concludes on a number of grounds that Defendant is not entitled to the relief

 sought in his motion.

        As a threshold matter, Defendant insists that his motion is properly construed as
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 brought under Rule 60(d)(3), rather than under 28 U.S.C. § 2255, in light of his

 allegations of fraud on the court. Yet, it is clear that Defendant seeks to challenge his

 underlying judgment of conviction — indeed, he contends that the indictment leading to

 this conviction is void — rather than identifying any purported defect in the proceedings

 before this Court on one of Defendant’s several prior § 2255 motions to vacate his

 sentence. Under these circumstances, where a prisoner’s Rule 60 motion asserts one or

 more claims for relief from an underlying judgment of conviction, rather than alleging a

 “defect in the integrity of the federal habeas proceedings,” the motion is properly

 characterized as an application for habeas corpus relief under § 2254 (for state prisoners)

 or § 2255 (in the case of a federal prisoner). Gonzalez v. Crosby, 545 U.S. 524, 532, 125

 S. Ct. 2641, 2648 (2005); see also In re Nailor, 487 F.3d 1018, 1021 (6th Cir. 2007)

 (holding that Gonzalez applies as well to Rule 60 motions brought by federal prisoners);

 Thompkins v. Berghuis, No. 11-1583, 509 F. App’x 517, 519-20 (6th Cir. Jan. 2, 2013)

 (holding that a claim of fraud on the court was properly viewed as a petition for habeas

 relief, and not a Rule 60 motion, where the fraud identified by the prisoner “would have

 been perpetrated against the state [trial] court, not the federal [habeas] court”). Because

 Defendant has filed several prior § 2255 motions seeking relief from his conviction and

 sentence, he would be obliged to seek authorization before filing his present motion. See

 In re Chambers, No. 12-1733, Order at 2-4 (6th Cir. Oct. 31, 2012) (determining that

 Defendant needed authorization to file a prior § 2255 motion but declining to grant this


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 authorization).1 Defendant, however, has made no effort to suggest any reason why he

 should be granted permission to pursue yet another § 2255 motion challenging his

 conviction and sentence.

        Alternatively, even if the Court were to treat Defendant’s motion as governed by

 the standards of Rule 60 rather than § 2255, Defendant would not be entitled to the relief

 he is seeking. Because Defendant is pursuing this relief in his underlying criminal case,

 and not in the context of a habeas suit commenced under § 2255, his present motion runs

 afoul of the principle that Rule 60 “is not applicable to criminal proceedings.” United

 States v. Gibson, No. 10-5231, 424 F. App’x 461, 464 (6th Cir. May 24, 2011). In

 addition, while Defendant suggests that his motion brought under Rule 60(d)(3) is not

 subject to the time limits governing Rule 60(b) motions — or, indeed, any time limit

 whatsoever — the Sixth Circuit has recognized that the Rule 60(b) time limits would be

 “eviscerate[d]” if an otherwise untimely Rule 60(b)(3) motion seeking relief from a

 judgment on the basis of fraud could simply be recast as challenging a judgment for

 “fraud on the court” under Rule 60(d)(3). Buell v. Anderson, No. 02-4033, 48 F. App’x

 491, 498 (6th Cir. Sept. 24, 2002); see also Tates v. Beggerly, 524 U.S. 38, 46, 118 S. Ct.

 1862, 1867 (1998). To avoid this result, relief under Rule 60(d)(3) for fraud on the court

 is available only in “unusual and exceptional circumstances,” and this provision will be

 invoked only “to prevent a grave miscarriage of justice.” Buell, 48 F. App’x at 498

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         As the Sixth Circuit noted in this 2012 order, Defendant had at that point “filed at least
 four other § 2255 motions” since 1994. Id. at 2.

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 (internal quotation marks and citations omitted). The allegations of perjury raised in

 Defendant’s present motion have been deemed insufficient to warrant relief from a

 judgment under Rule 60(d)(3). See Buell, 48 F. App’x at 498.

        Ultimately, however, it does not matter whether Defendant’s motion should be

 construed as brought under § 2255, or whether Defendant’s appeal to Rule 60 is untimely

 or otherwise unavailing in this criminal case. Regardless of any of these considerations,

 the brute fact remains that Defendant raised precisely the same challenges he is now

 pursuing in a prior § 2255 motion filed with this Court back in 1992. In that motion, and

 again in his objections to a Magistrate Judge’s report recommending that this motion be

 denied, Defendant expressly contended (as he does again in his present motion) (i) that an

 agent of the federal Drug Enforcement Administration, Richard Crock, testified falsely at

 Defendant’s December 29, 1987 preliminary hearing, (see, e.g., Defendant’s 1/29/1993

 Objections at 6), and (ii) that Detroit Police officer Gerald Biernacki testified falsely

 before the grand jury that returned the 1988 indictment against Defendant, (see, e.g., id. at

 8). This Court denied Defendant’s 1992 motion to vacate his sentence, (see 2/24/1993

 Order and Judgment), and the Sixth Circuit affirmed this ruling, see United States v.

 Chambers, No. 93-1011, 16 F.3d 1221, 1994 WL 12649, at *4-*5 (6th Cir. Jan. 19,

 1994). Accordingly, Defendant’s present attempt to reassert these challenges is defeated

 by the law-of-the-case doctrine. See Keith v. Bobby, 618 F.3d 594, 599 (6th Cir. 2010)

 (explaining that this doctrine “generally bars the district court from reconsidering those


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 issues that the court of appeals has already explicitly or implicitly resolved”); see also

 Mitchell v. Rees, 651 F.3d 593, 598-99 (6th Cir. 2011) (rejecting a claim of fraud on the

 court where the petitioner had “several [prior] opportunities” to “attempt[] to remedy the

 error” of which he complained in that case); Buell, 48 F. App’x at 498-99 (finding “no

 grounds” for a fraud on the court challenge where the petitioner in that case “was not

 prevented from fully presenting the arguments made here” in the course of prior

 proceedings on his original federal habeas petition).2

        For these reasons,

        NOW, THEREFORE, IT IS HEREBY ORDERED that Defendant’s August 15,

 2013 motion to void preliminary hearing order and indictment (docket #1583) is

 DENIED. IT IS FURTHER ORDERED that Defendant’s December 5, 2013, January 13,

 2014, and June 30, 2014 motions to supplement the record (docket #s 1585, 1586, and

 1590) are GRANTED, and that Defendant’s July 14, 2014 motion to correct the record

 (docket #1591) also is GRANTED. Next, in light of the Court’s ruling on Defendant’s

 underlying Rule 60 motion, IT IS FURTHER ORDERED that Defendant’s September 25,

 2013 motion to compel (docket #1584) is DENIED AS MOOT.


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          The Court also cannot help but note the irony of Defendant’s present complaints of fraud
 on the court, where a § 2255 motion he filed in 1995 — in which he raised the very same claims
 of perjury advanced back in 1992 and again in his present motion — was accompanied by a
 number of falsified documents, including (i) a counterfeit letter from the Assistant U.S. Attorney
 who prosecuted the case against Defendant, purportedly lending support to Defendant’s
 allegations of perjury, and (ii) a doctored “order” of this Court purportedly acknowledging that
 Defendant “did not recieve [sic] a fair trial.” In light of this history of fabricated submissions,
 Defendant is in a particularly poor position to accuse others of fraud on the court.

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        Finally, to the extent that Defendant pursues an appeal from this ruling and it is

 determined that he must secure a certificate of appealability (“COA”) in order to do so,

 the Court finds that no such COA should issue, as Defendant’s present motion raises

 issues that have been repeatedly advanced in Defendant’s prior submissions (and

 repeatedly addressed and rejected by this Court and the Court of Appeals), and thus fails

 to make a substantial showing of the denial of a constitutional right.


                          s/Gerald E. Rosen
                          Chief Judge, United States District Court

 Dated: July 17, 2014

 I hereby certify that a copy of the foregoing document was served upon the parties and/or
 counsel of record on July 17, 2014, by electronic and/or ordinary mail.

                          s/Julie Owens
                          Case Manager, (313) 234-5135




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